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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


                                     JOINT STATUS REPORT

       Google and Yelp Inc. (“Yelp”) provide this status report regarding remaining custodian

issues. Google and Yelp have met and conferred, but have not reached an agreement as of today.

If a resolution has not been reached by Tuesday, November 16, 2021, Google and Yelp propose

to submit simultaneous briefing statements in order to seek the Court’s assistance at the next

status conference on November 30, 2021.
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Dated: November 11, 2021

                                   Respectfully submitted,

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